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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 9513 juL {5 ANI 30
FORT MYERS DIVISION

DISTRICT COURT

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TRUDIE ROSENBACH, an individual,
Plaintiff,
VS. CASE NO.:

KEVIN P. ROSENBACH, M.D., P.A., a

Florida profit corporation, CAREONE 3
HEALTH CARE CENTERS, LLC, a 2:!2 -c
Florida limited liability company, NAPLES

ALLERGY CENTER, LLC, a Florida

limited liability company, TC TRUST, LLC,

a Florida limited liability company, and

TIMOTHY YABLONOWSKI, individually,

V_- 583-736 DNF

Defendants.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, Trudie Rosenbach (“Plaintiff”), by and through undersigned counsel, hereby
sues Defendants, Kevin P. Rosenbach, M.D., P.A. (“PA”), CareOne Health Care Centers,
LLC (“CareOne”), Naples Allergy Center, LLC (“Naples Allergy”), TC TRUST, LLC
(“TC”), and Timothy Yablonowski  (“Yablonowski’), (collectively _ hereinafter,
“Defendants”) and alleges as follows:

INTRODUCTION

I. This is an action brought pursuant to the Fair Labor Standard Act of 1938, as

amended, 29 U.S.C. § 201, ef seg. (“FLSA”) to recover unpaid overtime compensation,

liquidated damages, and attorneys’ fees and costs owed to Plaintiff.

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JURISDICTION AND VENUE

2. This Court has jurisdiction over this claim pursuant to 28 U.S.C. § 216 and 28
U.S.C. § 1331.

3. Venue is proper in this Court pursuant to 28 U.S.C. § 1331(b), as the events or
omissions giving rise to the claims alleged herein occurred in the Middle District of Florida,
Fort Myers Division.

PARTIES

4, Plaintiff was and is a resident of the Middle District of Florida, Fort Myers
Division. At all times pertinent, Plaintiff worked for Defendants in the Middle District of
Florida, Fort Myers Division.

5. Defendant PA was and is a Florida profit corporation conducting business in
the Middle District of Florida, Fort Myers Division and subject to the requirements of the
FLSA. Upon information and belief, Defendant PA is an enterprise, engaged in commerce or
in the production of goods for commerce, in interstate commerce, and with an annual gross
volume of revenue not less than $500,000.00.

6. Defendant CareOne was and is a Florida limited liability company conducting
business in the Middle District of Florida, Fort Myers Division and subject to the
requirements of the FLSA. Upon information and belief, Defendant CareOne is an
enterprise, engaged in commerce or in the production of goods for commerce, in interstate

commerce, and with an annual gross volume of revenue not less than $500,000.00.

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7. Defendant Naples Allergy was and is a Florida limited liability company
conducting business in the Middle District of Florida, Fort Myers Division and subject to the
requirements of the FLSA. Upon information and belief, Defendant Naples Allergy is an
enterprise, engaged in commerce or in the production of goods for commerce, in interstate
commerce, and with an annual gross volume of revenue not less than $500,000.00.

8. Defendant TC was and is a Florida limited liability company conducting
business in the Middle District of Florida, Fort Myers Division and subject to the
requirements of the FLSA. Upon information and belief, Defendant TC is an enterprise,
engaged in commerce or in the production of goods for commerce, in interstate commerce,
and with an annual gross volume of revenue not less than $500,000.00.

9. Defendants PA, CareOne, Naples Allergy, and TC have interrelation of
operations; centralized control of labor relations; common management; and common
ownership or financial control. As such, for FLSA purposes, Defendants PA, CareOne,
Naples Allergy, and TC represent a single, integrated enterprise.

10. Defendant, Yablonowski was and is an individual who operated Defendants
PA, CareOne, Naples Allergy, and TC, and who regularly exercised the authority to: (a) hire
and fire employees; (b) determine the work schedules for employees; and (c) control finances
and operations. By virtue of having regularly exercised that authority on behalf of
Defendants PA, CareOne, Naples Allergy, and TC, and over Plaintiff, Defendant
Yablonowski is an employer as defined by 29 U.S.C. § 201 ef seq.

11. At all times material, Plaintiff was an employee of Defendants pursuant to 29

U.S.C. § 203(e)(1); Defendants were the employer of Plaintiff within the meaning of 29

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U.S.C. § 203(a) and (d); and Defendants employed Plaintiff within the meaning of 29 U.S.C.
§ 203(g).
GENERAL ALLEGATIONS

12. Defendants employed Plaintiff as a licensed practical nurse (“LPN”).
Plaintiff's primary job duties included providing nursing care to patients consistent with her
license. As such, for FLSA purposes, Plaintiff was not employed in a bona fide executive,
professional, or administrative capacity. Regardless, Defendants compensated Plaintiff on a
salary basis, and misclassified Plaintiff as an exempt employee.

13. During her employment with Defendants, Plaintiff was not properly
compensated at one and one-half (1 and 1/2) her regular rate for overtime hours worked.

14.‘ Plaintiff worked over forty (40) hours in one or more workweeks while
employed by Defendants.

15. | Despite working more than forty (40) hours in a workweek, Plaintiff did not
receive overtime compensation at a rate not less than one and one-half (1 and 1/2) times her
regular rate for such overtime hours.

16. | Upon information and belief, the records to the extent any exist, concerning
the number of hours worked and amounts to be paid to Plaintiff are in the possession and
custody of Defendants.

COUNT I
(Overtime Compensation Due Under The FLSA)

17. Plaintiff hereby incorporates by reference the allegations contained within

paragraphs 1 through 16 above.

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18. Plaintiff was employed by Defendant PA from approximately October 2001
through June 13, 2013; by Defendants Naples Allergy, TC, and Yablonowski from July 2010
through June 13, 2013; and by Defendant CareOne from approximately April 2013 through
June 13, 2013.

19. Defendants’ failure to provide Plaintiff overtime compensation at a rate not
less than one and one-half (1 and 1/2) times her regular rate for hours worked over forty (40)
in a workweek constitutes a violation of the FLSA, 29 U.S.C. § 207.

20. Defendants’ violations of the FLSA were knowing and willful.

WHEREFORE, Plaintiff respectfully requests that this Court:

a. accept jurisdiction over this action;

b. award damages for the amount of unpaid overtime compensation owed
to Plaintiff;

c. award liquidated damages, pursuant to 29 U.S.C. § 215(b), in an
amount equal to the overtime compensation owed to Plaintiff;

d. award post-judgment interest, reasonable attorneys’ fees and costs

pursuant to 29 U.S.C. § 216(b);
€. entry of final judgment against Defendants; and

f. award all other relief as the Court deems just and proper.

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DEMAND FOR JURY TRIAL

Plaintiff does hereby demand a Jury Trial on all issues and claims so triable.

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